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                       EXHIBIT A
        Case 1:24-md-03119-MLG-LF                    Document 228-1          Filed 07/07/25
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                                                               with the Administrative Procedure Act (“APA”),        5 U.S.C.
                    2025 WL 1743939
                                                               §§ 551–559,     701– 706, NEPA, and the Endangered
      Only the Westlaw citation is currently available.
                                                               Species Act (“ESA”), 16 U.S.C. §§ 1531–1544, when making
     United States District Court, District of Columbia.
                                                               their decision.
           SOUTHERN UTAH WILDERNESS
                ALLIANCE, Plaintiff,                           The State of Utah (“Proposed Intervenor” or “State”) moved
                                                               to intervene as a defendant as a matter of right under
                       v.
                                                               Federal Rule of Civil Procedure 24(a), and, in the alternative,
             U.S. DEPARTMENT OF the
                                                               for permissive intervention under Rule 24(b). SUWA and
              INTERIOR, et al., Defendants.
                                                               Defendants take no position. For the reasons stated below, the
                                                               motion to intervene under Rule 24(a) is granted.
               Civil Action No.: 24-2476 (RC)
                              |
                    Signed June 24, 2025
                                                                            II. FACTUAL BACKGROUND
Attorneys and Law Firms
                                                               BLM manages more than 500,000 acres of the San Rafael
Hanna C. Larsen, Pro Hac Vice, Landon Newell, Pro              Desert in southeastern Utah pursuant to the Price Field Office
Hac Vice, Salt Lake City, UT, William Stewart Eubanks          Resource Management Plan. See Am. Compl. ¶¶ 59, 153,
II, Elizabeth Leigh Lewis, Eubanks & Associates, PLLC,         ECF No. 8. In 2010, BLM started developing a “master
Washington, DC, for Plaintiff.                                 leasing plan” (“MLP”), an additional analysis that would help
                                                               the agency decide whether to sell new oil and gas leases in
John Karl Heise, Alison C. Finnegan, DOJ-United States
                                                               this area. See id. ¶¶ 59–61. But before finishing the MLP, in
Attorney's Office, Washington, DC, for Defendants.
                                                               2018 BLM began offering “hundreds of oil and gas leases
                                                               in former-MLP areas, including the leases in the San Rafael
                                                               Desert at issue in this litigation.” See id. ¶¶ 67–70, 74. SUWA
              MEMORANDUM OPINION
                                                               sued BLM in this Court. See Compl., ECF No. 1, S. Utah
RUDOLPH CONTRERAS, United States District Judge                Wilderness All. v. Bernhardt (“SUWA I”), No. 1:20-cv-3654
                                                               (D.D.C. Dec. 14, 2020). SUWA argued that BLM failed
                                                               to perform an environmental impact analysis and provide a
            GRANTING STATE OF UTAH'S                           reasoned explanation for the policy change as required by
              MOTION TO INTERVENE                              law. See Pl.’s Mot. Summ. J. at 27–32, ECF No. 56-1, SUWA
                                                               I, No. 1:20-cv-3654. The parties settled the case. See Joint
                   I. INTRODUCTION                             Status Rep., ECF No. 78, SUWA I, No. 1:20-cv-3654. In
                                                               exchange for a stipulated dismissal, BLM agreed to prepare
 *1 In August 2024, Plaintiff Southern Utah Wilderness         a supplemental NEPA analysis of the 2018 leasing decisions.
Alliance (“SUWA”) filed suit against the Department of         See Am. Compl. ¶ 93; see also Ex. 3 to Compl. at 4, ECF
the Interior (“DOI”), DOI's Bureau of Land Management          No. 1-4. BLM finished its analysis in 2024 and reaffirmed
(“BLM”), and Christina Price in her official capacity as the   its sale of the thirty-five oil and gas leases at issue in this
Deputy State Director, Lands and Minerals, in BLM's Utah       litigation. See Am. Compl. ¶¶ 1–2. In August 2024, SUWA
State Office (collectively, “Defendants”), regarding BLM's     sued Defendants again, arguing that they violated the APA
2024 decision to reaffirm thirty-five oil and gas leases in    and NEPA when rendering their decision. See Compl. ¶¶ 114–
southeastern Utah. BLM first decided to sell the leases        39, ECF No. 1. SUWA later amended its complaint, adding
at issue in 2018. SUWA sued, resulting in a settlement         alleged violations of the ESA. Am. Compl. ¶¶ 160–72.
agreement where, inter alia, BLM agreed to prepare a
supplemental analysis under the National Environmental         The State of Utah filed its motion to intervene on April 9,
                                                               2025. State of Utah's Mem. in Supp. Mot. Intervene (“Mot.”),
Policy Act (“NEPA”),    42 U.S.C. §§ 4321– 4370m-12.
                                                               ECF No. 25. The State participates “in the issuance and
After the completion of its analysis, BLM reaffirmed the
                                                               permitting of every federal oil and gas lease within Utah.” Ex.
leases. SUWA alleges that Defendants failed to comply


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A to Mot. at 5, ECF No. 25-1. All the leases at issue are within    and declarations supporting the motion as true absent sham,
the State's geographic borders. See id. at 2. Each of them
                                                                    frivolity or other objections.”      WildEarth Guardians v.
generates revenue for the State and creates job opportunities
for its citizens. See id. The current parties have taken no         Salazar, 272 F.R.D. 4, 9 (D.D.C. 2010) (quoting      Sw. Ctr.
position on the State's motion to intervene. See Mot. at 2;         for Biological Diversity v. Berg, 268 F.3d 810, 820 (9th Cir.
Resp. to Prop. Intervenor's Mot. Intervene (“Resp.”) at 1, ECF      2001)).
No. 28.

 *2 While the motion to intervene was pending, SUWA                                        IV. ANALYSIS
moved for summary judgment. See Pl.’s Mot. Summ. J.,
ECF No. 29. Pursuant to the operative Scheduling Order,             The Court first analyzes the State's constitutional standing,
briefing on the parties' cross-motions for summary judgment         and then whether it satisfies the Rule 24(a) requirements for
is currently scheduled to conclude by August 26, 2025. Min.         intervention as of right. Because the Court concludes that the
Order, No. 24-cv-2476 (RC) (D.D.C. Apr. 8, 2025).                   State is entitled to intervene as of right, it does not consider
                                                                    permissive intervention.

                                                                    The State has established Article III standing. In this lawsuit,
                 III. LEGAL STANDARD
                                                                    SUWA seeks, inter alia, to vacate the thirty-five disputed
The D.C. Circuit requires putative defendant-intervenors to         leases and enjoin Defendants from issuing new leases for
demonstrate Article III standing by showing injury in fact,         oil and gas development on BLM-managed public lands
                                                                    pursuant to the San Rafael Desert MLP. See Am. Compl.
causation, and redressability. See      Crossroads Grassroots
                                                                    at 44–45. If the Court grants this relief, the State would
Pol'y Strategies v. Fed. Election Comm'n, 788 F.3d 312, 316
                                                                    be economically injured because “[r]evenue and royalties
(D.C. Cir. 2015). An injury in fact is “an invasion of a legally
                                                                    received from federal mineral leasing within the State [are]
protected interest which is (a) concrete and particularized
                                                                    shared between federal and state governments.” Mot. at 6.
and (b) actual or imminent, not conjectural or hypothetical.”
                                                                    Thus, the economic injury to the State if the Court were
    Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)            to vacate the leases at issue would be both concrete and
(internal quotation marks and citations omitted).
                                                                    particular. See    TransUnion LLC v. Ramirez, 594 U.S. 413,
  Where, as here, a party seeks to intervene as a defendant to      425 (2021) (explaining that “monetary harms” are some of
  uphold an action taken by the government, the party must          the “most obvious” tangible harms that constitute concrete
  establish that it will be “injured in fact by the setting aside   injuries under Article III). The State also has a regulatory
  of the government's action it seeks to defend, that this injury   interest at stake because of the time and resources it spends
  would have been caused by that invalidation, and the injury       permitting “[o]il and gas extraction and production.” See Mot.
  would be prevented if the government action is upheld.”           at 5; Ctr. for Biological Diversity v. U.S. Dep't of Interior,
                                                                    640 F. Supp. 3d 59, 67 (D.D.C. 2022) (granting the State of
                                                                    Wyoming's motion to intervene in a case challenging federal
   Forest Cty. Potawatomi Cmty. v. United States, 317 F.R.D.
                                                                    drilling permits where Wyoming had “expended significant
6, 11 (D.D.C. 2016) (quoting         Am. Horse Prot. Ass'n,         resources to regulate the use of private, state, and federal
Inc. v. Veneman, 200 F.R.D. 153, 156 (D.D.C. 2001)).                land, and to review and approve requests for state” permits,
Additionally, courts in this Circuit require four elements          which were often required to apply for federal permits);
for a party to intervene as of right under Rule 24(a):              WildEarth Guardians v. Haaland, No. 21-cv-175, 2021 WL
“1) timeliness of the application to intervene; 2) a legally        12241922, at *2 (D.D.C. Apr. 20, 2021) (recognizing the
protected interest; 3) that the action, as a practical matter,      State of Wyoming's “regulatory interests in cases involving
impairs or impedes that interest; and 4) that no party to           the development of federal minerals within the State”).
the action can adequately represent the potential intervenor's      SUWA's success in this lawsuit would, at the very least,
interest.”   Crossroads, 788 F.3d at 320. “Courts are to take       temporarily stall oil and gas drilling, and a successful defense
all well-pleaded, nonconclusory allegations in the motion to        of Defendants' actions would redress that potential injury by
intervene, the proposed complaint or answer in intervention,        avoiding it. Therefore, the State has standing in this case.




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                                                                          representation requirement “is satisfied if the applicant shows
 *3 Having met the requirements for standing, the Court's
                                                                          that representation of his interest ‘may be’ inadequate.”
analysis of the Rule 24(a) requirements for intervention as
of right is straightforward. First, the motion to intervene was               Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10
timely filed.                                                             (1972). “[T]he burden of making that showing should be
                                                                          treated as minimal.” Id. Here, the State seeks to defend its
  Timeliness “is to be judged in consideration of all the                 own regulatory interests to ensure the safety and security of
  circumstances, especially weighing the factors of time                  Utahns, while also supporting “the long-term continuation
  elapsed since the inception of the suit, the purpose for                and promotion of oil and gas leasing in Utah.” Mot. at 7–8.
  which intervention is sought, the need for intervention                 Presumably, Defendants have an interest in defending BLM's
  as a means of preserving the applicant's rights, and the                decision-making process for issuing oil and gas leases on
  probability of prejudice to those already parties in the                public land for the benefit of the American people broadly.
  case.”                                                                  See id. While similar, the State has sovereign interests that
                                                                          are narrower than Defendants'. “[T]here may be a partial
   Amador Cty. v. U.S. Dep't of Interior, 772 F.3d 901, 903               congruence of interests, [but] that does not guarantee the
(D.C. Cir. 2014) (quoting        United States v. British Am.             adequacy of representation.”     Fund for Animals, 322 F.3d
Tobacco Austl. Servs., Ltd., 437 F.3d 1235, 1238 (D.C. Cir.               at 737; see also WildEarth Guardians v. Jewell, 320 F.R.D.
2006)). The State's motion to intervene was filed on April 9,             1, 5 (D.D.C. 2017) (finding that federal defendants did not
2025, before SUWA filed its Motion for Summary Judgment                   adequately represent interests of states in cases challenging
on April 25, 2025. See Mot. at 1; Pl.’s Mot. Summ. J. at 51.
                                                                          federal oil and leases); Akiachak Native Cmty. v. U.S. Dep't
Neither party has argued that they will be prejudiced by the
                                                                          of Interior, 584 F. Supp. 2d 1, 7 (D.D.C. 2008) (holding
State's participation in the suit, nor that responding to the
                                                                          that federal defendants had no clear interest in protecting
State's briefings will unduly disrupt or delay the litigation. See
                                                                          state sovereignty in cases challenging regulations that bar
Mot. at 2; Resp. at 1. Thus, this Court finds that the motion
                                                                          DOI from acquiring land on behalf of federally recognized
to intervene is timely.
                                                                          tribes). Because this Court finds that it is not clear that the
                                                                          Defendants share the State of Utah's interests, the State of
Further, this Court finds that the State has demonstrated a
                                                                          Utah has satisfied the final element of Rule 24(a).
legally protected interest under Rule 24(a) and that an adverse
action by this Court could impair or impede that interest.
When a prospective intervenor “has constitutional standing, it
a fortiori has ‘an interest relating to the property or transaction                            V. CONCLUSION
which is the subject of the action.’ ”     Crossroads, 788 F.3d            *4 For the foregoing reasons, the State of Utah's Motion
at 320 (quoting     Fund for Animals v. Norton, 322 F.3d 728,             to Intervene (ECF No. 25) is GRANTED. An order
                                                                          consistent with this Memorandum Opinion is separately and
735 (D.C. Cir. 2003)); see also Safari Club Int'l v. Salazar,
                                                                          contemporaneously issued.
281 F.R.D. 32, 38 (D.D.C. 2012) (“The injury-in-fact and
causation connection with the challenged action requirements
for standing are closely related to the second and third factors          All Citations
under Rule 24(a) ....”).
                                                                          Slip Copy, 2025 WL 1743939
Finally, the Court agrees that the Defendants might not
adequately represent the interests of the State. The adequate

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